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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

UNITED STATES OF AMERICA
v. Case No.: 1:19-cr-00334-LMB-4
ERIC YOUNG WOO
E T N OF CO L

Comes now, the respondent, ERIC YOUNG WOO, by and through counsel and
moves this Honorable Court to substitute Patrick Allen Mullin, Esq. with the
undersigned counsel, Robert L. J enkins, Jr., Esq.

T ASK FOR THIS: .

  

 

Sw Lo.
ERIC YOUNG WO67

 

1010 Camero? Street
Alexandria, VA 22314
(703) 309 0899 Telephone
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Entered

 
